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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION

IN RE:                                             §   CASE NO. 14-60041 (DRJ)
                                                   §
BUCCANEER RESOURCES, LLC, et al.,                  §
                                                   §
         Debtors.                                  §   Chapter 11


MERIDIAN CAPITAL INTERNATIONAL                     §
FUND, MERIDIAN CAPITAL CIS FUND,                   §
FRED M. TRESCA, RANDY A. BATES,                    §
AND BRANTA II, LLC,                                §
                                                   §
         Appellants/Cross-Appellees,               §   CIV. ACT. NO. 6:16-CV-00039
                                                   §   (CONSOLIDATED WITH 6:16-CV-00053)
v.                                                 §
                                                   §
CURTIS BURTON,                                     §
                                                   §
         Appellee/Cross-Appellant.                 §

       APPELLEE/CROSS-APPELLANT CURTIS BURTON’S RESPONSE TO THE
     SUPPLEMENTAL AUTHORITIES FILED BY APPELLANTS/CROSS-APPELLEES

TO THE HONORABLE HAYDEN HEAD, UNITED STATES DISTRICT JUDGE:

         Appellee/Cross-Appellant Curtis Burton (“Burton”) hereby files this brief response to the

post-hearing supplemental authorities filed by Appellants/Cross-Appellees Meridian Capital

International Fund, Meridian Capital CIS Fund (together, “Meridian”), Fred M. Tresca (“Tesca”),

Randy A. Bates (“Bates”), and Branta II, LLC (“Branta”). In support of such response, Burton

respectfully states as follows:

              I.       APPLICABLE LAW: DIRECT VS. DERIVATIVE CLAIMS

         1.        “Whether a particular state-law claim belongs to the bankruptcy estate depends on

whether under applicable state law the debtor could have raised the claim as of the commencement

of the case.” Highland Capital Mgmt. LP v Chesapeake Energy Corp. (In re Seven Seas Petroleum,
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Inc.), 522 F.3d 575, 584 (5th Cir. 2008).        In the instant case Buccaneer Energy Limited

(“Buccaneer”) had claims of its own against third-party lender Meridian (which were settled), but

Buccaneer never had any right to sue Meridian for Curtis Burton’s damages arising from

Meridian’s interference with Burton’s employment contract with Buccaneer. No one except Curtis

Burton has standing to sue for losses in connection with his employment contract.

       2.      “…[T]he trustee has no right to bring claims that belong solely to the estate’s

creditors.” Id. at 584. The damages for interference with Curtis Burton’s employment contract

are unique to him, and a recovery of those losses cannot benefit the estate by a single penny, under

any legal theory at all. The Debtors will never be entitled to claim any right to any such recovery

for the benefit of all the creditors, or for anyone other than Curtis Burton. This was not a

generalized harm that affected all creditors. Burton’s injury is “…distinct and separate from the

injury of all the other shareholders…”. In re Dexterity Surgical, Inc., 365 B.R. 690, 698 (Bankr.

S.D. Tex. 2007). Curtis Burton suffered losses that are “…different than those borne by all the

shareholders.” Id. at 699.

       3.      The analysis set out in Seven Seas and In re Dexterity Surgical has been adopted

by Judge Sim Lake in the SBMC Healthcare case, McVey v. Johnson (In re SBMC Healthcare,

LLC), No. 16-2947, 2017 U.S. Dist. LEXIS 71848 (S.D. Tex. 2017). In that case malpractice

allegations established a direct duty to the plaintiffs, and damages that were personal to the

plaintiffs and not shared by others, and thus not derivative.

                                  II.    OTHER RESPONSES

       4.      Curtis Burton can prevail without showing an injury to Buccaneer. The cause of

action for tortious interference in Texas only requires proof of a contract, interference by the

defendant, causation, and damages. See Tex. Beef Cattle Co. v. Green, 921 S.W.2d 203, 211 (Tex.



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1996) (setting forth the elements of a claim for tortious interference). There is no requirement for

injury to Buccaneer. There is no requirement for direct representations to the plaintiff by the

defendant. There is no requirement that the Buccaneer board acted in bad faith. Any argument by

Meridian that Curtis Burton’s claim is contingent on a showing of injury to Buccaneer or bad faith

of the Buccaneer board is misplaced.

       5.      It is true that Curtis Burton’s pleading discusses Meridian’s tortious conduct toward

Buccaneer, and that Burton’s claims against Meridian and Buccaneer’s claims against Meridian

all spring from the same nucleus of operative fact, but it is “…a well accepted principle that a

direct and derivative action may be maintained out of the same set of facts.” In re Dexterity

Surgical, Inc., 365 B.R. at 697; see also Highland Capital Mgmt. LP v Chesapeake Energy Corp.

(In re Seven Seas Petroleum, Inc.), 522 F.3d 575, 585 (5th Cir. 2008). This does not somehow

make Burton’s claims contingent on injury to Buccaneer.

       6.      Appellants/Cross-Appellees say that Burton’s injury is not based on any legal duty

that Meridian or the Branta parties owed to him (at page 5 of their brief), but that is just flat wrong.

Meridian and the Branta parties had the same duty to not wrongfully interfere with his employment

contract that any other third party to that contract would have. Meridian cannot hide behind the

Debtors’ rights by making a grand policy argument that bankruptcy settlements will somehow be

chilled by allowing Burton’s claims to go forward. A non-debtor party like Meridian, whether

secured lender or otherwise, is not suddenly sheltered from its tortious conduct toward non-settling

parties simply because it has settled with the debtor for any tort claims the debtor may have.

                               III.    CONCLUDING REMARKS

       7.      At the recent hearing the Court asked if provision had been made for Burton in the

Trustee’s settlement with Meridian. In fact the Trustee’s claims against Burton were specifically



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reserved and not released. Burton was not a party to the settlement with Meridian. Burton has

now been sued by the trustee for over $100 million in an obvious effort to collect from the Debtors’

D&O liability policies. The public bankruptcy record shows that Meridian’s agents were allowed

to credit bid and take the producing properties. When Appellants talk about “sound judicial and

reorganization policy” in their brief at page 7, they should be required to balance all these interests

as well.

DATED: November 30, 2017.
                                               Respectfully submitted,

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                                               CURTIS BURTON


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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2017, a true and correct copy of the foregoing was
served electronically via the Court’s CM/ECF filing system on all parties of record.

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